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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

HONORABLE JOSEPH H. RODRIGUEZ
ANISSA E. ISRAEL, as Administrator ad
Prosequendurn of the Estate of A’Heern CIVIL ACTION NO. 1:11-0v~1824-JHR-KMW
Hudson, deceased,

Plaintiff(s),
v.

THE UNITED STATES OF AMERICA,
JOHN DOE DOCTORS (1-10), iictitiously
named defendants, JANE DOE
NURSES(] - 1 O), fictitiously named
defendants, and ABC BUSINESS
ENTITIES (1~10), fictitiousiy named
defendants,,

Defendant(s).
and

UNITED STATES OF AMERICA,

Defendant/Third-Party Plaintiff
Defendant(s).
v.

THE COOPER HEALTH SYSTEM d/b/a
Cooper University Hospital and KRISTY
MAINES, R.N.

Third-Party Defendant(s).

 

 

VOLUNTARY STIPULATION OF DISMISSAL WITH PREJUDICE
AS TO THIRD PARTY DEFENDANTS, THE COOPER HEALTH SYSTEM
d/b/a COOPER UNIVERSITY HOSPITAL and KRISTY MAINES, R.N.

lt is hereby stipulated and agreed that the above~entitled matter be and the same is

hereby VOLUNTARILY dismissed with prejudice and Without costs as to Defendants, The

 

 

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Cooper Health Systern d/b/a Cooper University Hospital and Kristy Maines, R.N.

United States Departrnent Of Justice Parker McCay P.A.
Attorney for Third Party Plaintiff, Attorney for Third Party Defendants,
United States Of America The Cooper Health Systern d/b/a Cooper

University Hospital and Kristy Maines, R.N.

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Dated:

 

 

